        Case 3:21-cv-08458-LB Document 104-1 Filed 01/17/24 Page 1 of 3




 1
 2
 3
 4
 5
 6
 7
 8                               UNITED STATES DISTRICT COURT
 9     NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
10
11 BRYON JACKSON,                                       Case No. 3:21-cv-08458-LB
                                                        [Honorable District Judge, Magistrate
12                      Plaintiff,                      Judge Laurel Beeler]
13             v.                                       [MOTION IN LIMINE NO. 3]
14 TARGET CORPORATION,                                  [PROPOSED] ORDER GRANTING
                                                        DEFENDANTS' MOTION IN
15                      Defendant.                      LIMINE TO EXCLUDE
                                                        UNDISCLOSED OR
16                                                      UNPRODUCED WITNESSES AND
                                                        EVIDENCE
17
                                                        Date: 2/15/2024
18                                                      Time: 1:00 thp.m.
                                                        Crtrm.: B 15 Floor
19
20
              After reading and considering the papers filed in support of and in opposition
21
     to MOTION IN LIMINE NUMBER 3, TO EXCLUDE ALL EVIDENCE OF, AND
22
     REFERENCE TO, EVIDENCE AND WITNESSES NOT DISCLOSED BY
23
     PLAINTIFF PRIOR TO THE DISCOVERY CUT-OFF, and good cause appearing,
24
              IT IS HEREBY ORDERED that:
25
              1)        The Court hereby GRANTS the Defendant's' Motion In Limine No.
26
     Three in its entirety.
27
              2)        Accordingly, the following matters shall hereby be excluded from
28   4894-7236-7006.1
                                                    1                      Case No. 3:21-cv-08458-LB
     PROPOSED] ORDER GRANTING DEFENDANTS' MOTION IN LIMINE TO EXCLUDE ALL EVIDENCE
      AND ARGUMENT RELATING TO PLAINTIFF’S MEDICAL TREATMENT, MEDICAL EXPENSES OR
                                   SPECIAL DAMAGES
       Case 3:21-cv-08458-LB Document 104-1 Filed 01/17/24 Page 2 of 3




 1 evidence, and from being published to the jury or finder of fact, and from being
 2 admitted into evidence, in this matter any and all evidence, documents, records,
 3 recordings, testimony, statements, opinions based upon, argument based upon,
 4 and/or reference before the jury all evidence and argument relating to:
 5         a)     all testimony, reference, allegations, records, or evidence regarding
 6 evidence or witnesses that was not disclosed, or served in discovery, by any of the
 7 parties to this action prior to the Court's deadline for the completion of discovery in
 8 this matter.
 9                IT IS SO ORDERED.
10
11
12 DATED:
13
                                              UNITED STATES DISTRICT JUDGE
14
15
16
17
18
19
20
21
22
     Respectfully Submitted By:
23
     David V. Roth (State Bar No. 194648)
24      david.roth@manningkass.com
     Gabriella Pedone (State Bar No. 308384)
25      gabriella.pedone@manningkass.com
     MANNING & KASS
26   ELLROD, RAMIREZ,          TRESTER LLP
     801 S. Figueroa St, 15th Floor
27   Los Angeles, California 90017-3012
     Telephone: (213) 624-6900
28   Facsimile: (213) 624-6999
     4894-7236-7006.1
                                             2                  Case No. 3:21-cv-08458-LB
     PROPOSED] ORDER GRANTING DEFENDANTS' MOTION IN LIMINE TO EXCLUDE ALL EVIDENCE
      AND ARGUMENT RELATING TO PLAINTIFF’S MEDICAL TREATMENT, MEDICAL EXPENSES OR
                                   SPECIAL DAMAGES
        Case 3:21-cv-08458-LB Document 104-1 Filed 01/17/24 Page 3 of 3




 1
   Attorneys for Defendant, TARGET
 2 CORPORATION
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28   4894-7236-7006.1
                                           3                    Case No. 3:21-cv-08458-LB
     PROPOSED] ORDER GRANTING DEFENDANTS' MOTION IN LIMINE TO EXCLUDE ALL EVIDENCE
      AND ARGUMENT RELATING TO PLAINTIFF’S MEDICAL TREATMENT, MEDICAL EXPENSES OR
                                   SPECIAL DAMAGES
